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                                 UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x
JUDITH RAANAN et al.,                                                :
                                                                     :
                                                                     :
                           Plaintiffs,                               :
                                                                     :
                                                                     : Case No: 1:24-cv-00697-JGK
                  -v-                                                :
                                                                     :
                                                                     :
BINANCE HOLDINGS LIMITED, and                                        :
CHANGPENG ZHAO,                                                      : ORAL ARGUMENT
                                                                     : REQUESTED
                                                                     :
                           Defendants.                               :
                                                                     :
--------------------------------------------------------------------x


          PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
     DEFENDANTS’ MOTION TO DISMISS THE FIRST AMENDED COMPLAINT



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        Plaintiffs submit this memorandum of law in opposition to Defendants Binance Holding

Limited (“Binance”) and Changpeng Zhao’s (“Zhao”; and collectively with Binance,

“Defendants”) motion to dismiss the First Amended Complaint (ECF 17, “Motion”).1

                                    PRELIMINARY STATEMENT

        Defendants enabled Hamas and PIJ. While Hamas and PIJ committed the horrific October

7 Attacks, Defendants were their knowing and deliberate financial enablers. Plaintiffs are U.S.

individuals and their family members who were brutally murdered or injured in the Attacks.

Seeking justice, Plaintiffs bring claims under the ATA for aiding and abetting and primary liability

against Defendants, whose dangerous and unique provision of financial services to Hamas and PIJ

substantially contributed to the Attacks.

        The FAC states these claims. Defendants intentionally created the Binance platform as an

illicit financial tool for criminal activity, knowingly operated the platform without KYC and AML

controls, and knowingly provided their criminal and terrorist customers access to digital currency

that was designed to evade regulation and hide their tracks. In the post-9/11 world, preventing

terrorists from accessing financial markets is of paramount concern for any responsible financial

institution, but Defendants sought to attract criminals and terrorists to their platform. Foreseeably,

Hamas, PIJ, and their affiliates transacted on Binance. Moreover, and notwithstanding their

regulatory obligations to report suspicious or illegal activity, Defendants affirmatively misled

regulators about Hamas and PIJ’s activities on Binance, obscuring their financing and blocking

possible government investigations years before the Attacks.




1
  Capitalized terms not defined herein have the same meanings as ascribed to them in the First Amended Complaint
(“FAC”). References to “¶” and “Mot.” are to paragraphs of the FAC and Defendants’ memorandum of law in support
of their Motion to Dismiss (ECF 19), respectively. References to “Raanan Decl.” and “Ludmir Decl.” are to the
declarations of Uri Raanan and Jeffrey Ludmir, respectively, filed contemporaneously herewith. All emphasis is
added; all internal quotations and citations are omitted.


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       Defendants knowingly did this. Defendants’ regulators concluded that, prior to the Attacks,

Defendants knew Hamas, PIJ, and their affiliates were transacting on Binance. Defendants’

internal communications—epitomized by jokes and deliberate indifference—demonstrate this.

       These terrorists’ preference for cryptocurrency was widely known. Hamas publicly

requested funding via Binance. The media widely reported on it. Israel’s counter-terrorism

financing agency seized and publicized Hamas and PIJ crypto-wallets. Binance’s competitor

published a how-to-guide for crypto-platforms to detect terrorist usage.

       As a result of Defendants’ deliberate design and affirmative misconduct, Hamas and PIJ

transacted in massive amounts on Binance. Based on publicly available information, Plaintiffs

uncovered $101 million in transactions by these groups leading up to the Attacks. The actual

amount transacted by Hamas and PIJ is known by Defendants and recorded on their internal ledger.

       Defendants seek dismissal on numerous grounds, all of which fail. Defendants argue that

Twitter requires dismissal. However, in Twitter, the digital platforms were largely passive and

indifferent to their users’ content, and the platforms had no legal duties regarding that content.

Here, Defendants designed a platform specifically to facilitate criminal financing, knew that

specific terrorist organizations, including Hamas and PIJ, were using their platform, and took

proactive steps to conceal that criminal activity and deceive regulators, thereby allowing these

terrorists to continue transacting on the platform.

       Defendants also contend that the FAC does not allege that they knew that Hamas and PIJ

transacted on Binance, and, even so, the small number of alleged transactions did not cause

Plaintiffs’ injuries. The contents and conclusions of U.S. government investigations, among other

allegations, show otherwise. Defendants’ standing and jurisdictional arguments also fail.

       The FAC alleges Plaintiffs’ claims; Defendants’ Motion should be denied.




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                                         THE FAC’S ALLEGATIONS

Plaintiffs

           Plaintiffs are U.S. citizens and their family members who were killed, tortured, taken

hostage, or otherwise harmed in the horrific October 7, 2023 Hamas and PIJ terrorist attacks

(“Attacks”). ¶¶19-64. Plaintiffs bring claims under the ATA via 18 U.S.C. § 2333(d)(2), 18 U.S.C.

§§ 2339A and 2339B against Defendants for supporting the Attacks. ¶¶247-85.

FTO Crypto-Financing Breaks Into Public View

           Binance is a cryptocurrency platform and exchange. ¶139. On Binance, users can open

accounts and transact in various cryptocurrencies and fiat currencies.2 ¶140. Zhao was Binance’s

founder and CEO, who, though he was forced to resign, still retains ownership and control of

Binance. ¶¶8, 180. Binance conducted extensive business in the U.S. and in New York. ¶¶154-58.

           Hamas and PIJ are violent terrorist organizations long designated by the U.S. as Foreign

Terrorist Organizations (“FTOs”) due to decades of terrorism against U.S nationals. ¶¶76-85.

           Hamas and PIJ cannot openly access traditional financial markets and must raise money in

clandestine ways, for which cryptocurrency is tailor-made. ¶132. Hamas has openly used crypto

since 2019 when it encouraged its followers to donate with Bitcoin. ¶¶134-35. Also in 2019,

Hamas publicly sought crypto-donations from its supporters, identifying Binance as a platform.

¶¶201-02. Through 2023, Hamas continued to openly request crypto-funding. ¶¶203-04.

           Between 2019 and the Attacks, the media, including PBS, The Wall Street Journal, and

Israel-based journalists, widely reported on terrorist-financing via cryptocurrency, including

Hamas. ¶¶203-07. In 2021, Binance’s crypto-platform competitor, Coinbase, published a report

on best practices for identifying and reporting terrorist-financing activity on platforms. ¶208.



2
    Fiat currencies are government-issued currencies that are not backed by a commodity such as gold, e.g. U.S. dollars.


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        Governments also caught on and took enforcement actions against FTOs and their affiliates

for their crypto-transactions. In June 2021, Israel’s National Bureau for Counter-Terrorism

Financing (“NBCTF”) publicly seized Hamas-affiliated crypto-wallets, e.g., BuyCash, a Gaza-

based financial services entity. ¶¶195-96, 226. In March 2022 and April 2023, the NBCTF publicly

seized wallets used of Dubai Co., another Gaza-based entity, that were used to transact with

Hamas. ¶¶195, 197, 226. In July 2023, the NBCTF publicly seized PIJ’s crypto-wallets.3 ¶226.

Defendants Created The Perfect Financing Tool For Terrorists

        As a money services business (“MSB”) conducting business in the U.S., Binance was

subject to laws meant to identify and prevent illegal activity. ¶¶158-73. Binance was required to

establish a robust anti-money laundering program (“AML”), perform due diligence and know-

your-customer (“KYC”) investigations on its users, and file Suspicious Activity Reports (“SARs”)

with FinCEN as to activities Binance knew or suspected were illegal. ¶¶160, 17-72.

        Instead, Defendants created and operated a unique financial platform on which criminals

could access global markets, while keeping their activities hidden from government scrutiny.

¶¶174-92. In Zhao’s own words from June 2019, he did not want to “be held accountable” to

regulators. ¶176. Also in June 2019, Binance’s Chief Compliance Officer referred to Binance’s

business model as “the international circumvention of KYC,” so that Binance could “reduce the

losses to ourselves, and … make the U.S. regulatory authorities not trouble us.” ¶177.


3
 A cryptocurrency wallet is a device or program that stores cryptographic keys to transact cryptocurrency. ¶¶140,
143. Wallets contain a unique address that allows third-parties to track that wallet’s transactions. ¶¶140, 143. This
data is stored publicly on a given cryptocurrency’s “ledger” but is made pseudonymous by use of said addresses.
¶¶143-44. Associating an address with a known identity, such as Hamas, reveals the wallet’s transactions in a
particular cryptocurrency. ¶¶144-45. Thus, it is often said that cryptocurrency is pseudonymous not anonymous.
¶¶144-45. However, an account-holder can move cryptocurrency from a wallet into a Binance “omnibus” wallet, a
pseudonymous transaction recorded on the cryptocurrency ledger. ¶¶140, 145, 153. The account-holder is then
credited on Binance’s private ledger and can transact on Binance’s exchange—these transactions proceed
anonymously to external observers but are known to Binance. ¶¶145, 153. This process is inverted to withdraw
cryptocurrency from a Binance account. ¶143.



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       Defendants effectuated their international circumvention of KYC/AML in a variety of

ways. They intentionally mischaracterized their users’ locations, advised their users to install IP-

blocking software, and falsified KYC data. ¶180. Moreover, from its start-up in 2017 through

2021, Binance allowed users to open accounts with no KYC whatsoever and allowed users to open

multiple accounts so they could bypass daily transaction limits for single accounts. ¶183. When

Binance began conducting nominal due diligence on its users, four years after its start-up, Binance

intentionally loopholed this process, allowing existing users to continue using the platform

without submitting any KYC. ¶184.

       Foreseeably, as a result of Defendants’ international circumvention of KYC, criminals used

Binance. And Defendants knew it. In 2020, Binance’s CCO, in response to having been presented

with evidence of criminal transactions on Binance, admitted that criminals were using the platform,

stating “Like come on. They are here for crime.” ¶187. Binance’s Money Laundering Reporting

Officer agreed, commenting “we see the bad, but we close 2 eyes.” ¶187. Another compliance

officer sought to advertise Binance to drug cartels, stating “we need a banner ‘is washing drug

money too hard these days - come to binance we got cake for you.’” ¶188.

Defendants Knowingly Provided Financial Services To Terrorists

       Foreseeably, Hamas, PIJ, and their affiliates transacted on Binance. FinCEN concluded

that from July 2017 through July 2023, Defendants’ “willfull failure” to implement an AML

program “directly led to the platform being used to process transactions related to … terrorist

financing” (¶190) and that such financing was related to Hamas and PIJ. ¶¶211-12. FinCEN

and the CFTC concluded that Hamas operated on Binance in February 2019. ¶¶213, 216.

Binance’s own KYC provider identified Hamas usage on Binance at least twice – in April 2019

and in July 2020. ¶¶213, 215.




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       Because of the risk of illicit finance associated with the pseudonymity of cryptocurrency,

it was incumbent on Defendants to engage in effective KYC. Defendants had access to transaction

monitoring tools for KYC/AML, including tools that pinpoint a wallet’s source and destination of

funds. ¶¶146-150. But Defendants intentionally circumvented KYC/AML procedures and took

steps to ensure that Hamas and PIJ’s transactions would remain hidden from regulators. FinCEN

concluded that between July 2017 and July 2023, Binance failed to file SARs regarding dozens

of Hamas and PIJ transactions “associated with terrorist financing.” ¶¶211-12, 214-16. FinCEN

also concluded that “Binance was aware of extensive suspicious activity involving [BuyCash] –

including connections [] to terrorist organizations.” ¶218. Zhao admitted that Defendants’

practice of misleading regulators would foster terrorism financing on Binance, stating in June

2019: “the U.S. has this law: you have to prevent … terrorists from doing any transactions. In

order [for America] to accomplish this … you have to give your data to the American

regulators.” ¶221. Defendants also pressured their own KYC service provider (who had identified

Hamas transactions) to mislead regulators about these transactions. ¶214. In July 2020, instead of

freezing accounts and filing SARs, Binance’s former COO instructed compliance personnel to let

a customer—flagged as associated with Hamas—this time leave with his funds, and to tip him

off that he had been identified as a Hamas associate. ¶¶5, 214.

Terrorists Transacted In Massive Amounts On Binance

       Leading up to the Attacks, Defendants’ misconduct allowed terrorists to transact in massive

amounts on Binance. With just publicly available data, Plaintiffs uncovered $60 million in Hamas

and PIJ transactions (¶¶194, 209), $25 million in BuyCash transactions (¶196), and $16 million

in Dubai Co. transactions. ¶¶197. Accordingly, Plaintiffs uncovered no less than $101 million in

terrorist and terrorist-affiliated transactions leading up to the Attacks. ¶199.




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                                                  ARGUMENT

I.       THE FAC STATES AN AIDING AND ABETTING CLAIM

         Defendants challenge aiding and abetting liability under 18 U.S.C. § 2333(d)(2),

contending that the FAC does not allege that Defendants “knowingly and substantially assist[ed]

the principal violation” or that they were “generally aware” of their role in the “overall illegal or

tortious activity.” Twitter, Inc. v. Taamneh, 598 U.S. 471, 486 (2023). The FAC alleges both.4

         A. The FAC Alleges Knowing And Substantial Assistance

         Knowing, substantial assistance is alleged where “the defendant consciously and culpably

participate[d] in a wrongful act so as to help make it succeed.” Twitter, 598 U.S. at 493.

         1. Defendants’ Conscious And Culpable Participation

         A routine services provider is culpable if it provides services “in an unusual way” or

“provides such dangerous wares that selling those goods to a terrorist group could constitute

aiding and abetting a foreseeable terrorist attack.” Id. at 502. The FAC establishes both.

         First, Defendants’ creation and operation of the Binance platform was unusual and

dangerous because Defendants intentionally created an illicit financing tool designed to hide

criminal activity. Defendants’ business strategy was in their words: the “international

circumvention of KYC.” ¶177. Notwithstanding their legal obligations to disclose illegal activity

(¶221), Defendants used their fake compliance program to enable terrorist financing. ¶¶174-99,

215-19. And even when Binance initiated due diligence, four years after its start-up, Defendants’

meager KYC protocol was deliberately useless. ¶¶178, 180-81. Binance wanted profits from

criminal enterprises; as an employee stated in 2019, “we need a banner ‘is washing drug money


4
  A court “must accept as true all nonconclusory factual allegations in the complaint and draw all reasonable inferences
in the Plaintiffs’ favor.” Kaplan v. Lebanese Canadian Bank, SAL, 999 F.3d 842, 854 (2d Cir. 2021). The inquiry is
whether “all of the facts alleged, taken collectively” permit a relevant inference, not whether “any individual
allegation, scrutinized in isolation” does. Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 322-23 (2007).



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too hard these days - come to binance we got cake for you.’” ¶188. Defendants’ operation of

Binance constitutes affirmative misconduct, not “passive nonfeasance.” Twitter, 598 U.S. at 500.

       Second, Hamas and PIJ transacted on the platform. FinCEN concluded that from July 2017

through July 2023 “Binance’s willful failure to implement an effective [AML] program” directly

led to Hamas and PIJ transactions in “significant sums.” ¶¶5, 190, 211-12. FinCEN and the CFTC

concluded that Hamas operated on Binance in February 2019. ¶¶213, 216. Binance’s own KYC

provider identified Hamas usage at least twice – in April 2019 and July 2020. ¶¶213, 215.

Plaintiffs themselves uncovered $60 million in Hamas and PIJ transactions on Binance. ¶194.

       Third, Defendants affirmatively helped terrorist-users evade government investigation,

giving them “special treatment.” Twitter, 598 U.S. at 498. Notwithstanding their duty to report

illegal or suspicious activities on the platform, between July 2017 and July 2023, Binance

concealed Hamas and PIJ transactions by systematically failing to file SARs and continued to

do business with them. ¶¶5, 211-12, 214-16. Likewise, FinCEN found that Binance failed to file

SARs as to Hamas-affiliate BuyCash, even though “Binance was aware of extensive suspicious

activity involving [BuyCash] – including connections [] to terrorist organizations.” ¶218.

Defendants also pressured their provider (who had identified Hamas transactions) to mislead

regulators about these transactions. ¶214. In July 2020, instead of freezing accounts and filing

SARs about a user flagged as a Hamas associate, Binance’s former COO instructed compliance

personnel to let the user leave with his funds and warn him about being flagged. ¶5.

       And fourth, Defendants knew they were substantially assisting Hamas and PIJ. Defendants’

systemic failure to report terrorist transactions via SARs demonstrates Defendants’ knowledge in

real time that these entities were transacting on Binance. FinCEN’s conclusion as to Binance’s

knowledge of the BuyCash transactions’ connections to terrorism is clear. ¶218. Likewise,




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Defendants’ internal communications show their knowledge. In February 2019, Binance’s CFO

demonstrated his knowledge of terrorists’ presence on the Binance platform and acknowledged

the possibility that they were using it to buy weapons. ¶216. In June 2019, Zhao admitted that

Defendants’ intentional concealment of terrorist transactions would foster terrorist financing,

stating that, under the law, “to prevent … terrorist from doing any transactions … you have to

give your data to the American regulators.” ¶221. In 2020, Binance’s CCO responded to evidence

of criminal transactions by stating: “Like come on. They are here for crime”; and Binance’s

Money Laundering Reporting Officer commented: “we see the bad, but we close 2 eyes.” ¶187.

       Defendants maintain that this case is on “all fours” with Twitter. Mot. 16. But there, the

Supreme Court recognized Twitter and YouTube (“Twitter Platforms”) to be online content

publishing platforms on which people “can sign up for… and start posting content … without

much (if any) advance screening by defendants.” Twitter, 598 U.S. at 480. As such, the Twitter

Platforms’ relationship to their users is “passive” and “largely indifferent,” and, as

“communications provider[s],” they are like “cell phones, email, or the internet [].” Id. at 499-500.

       This case is not like Twitter because, unlike the Twitter Platforms, Defendants engaged in

years of knowingly directed affirmative misconduct. Twitter offers no protection for providers of

even “routine services” where they do so “in an unusual way,” such as when a morphine distributor

mailed narcotics “far in excess of normal amounts” to a customer. Id. at 502. Unlike the Twitter

Platforms, the law required Binance to conduct vigilant due diligence on its users, but its

deliberately defective diligence produced callous jokes instead of the required SARs. In the world

of financial service providers, this was an aberrant, criminal, and dangerous way to do business.

       Also, Defendants’ culpability inherently exceeds that of recent Second Circuit precedent

because of the unique nature of the platform. See, e.g., Kaplan, 999 F.3d at 866 (concealing FTO




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transactions and circumventing terrorism sanctions); Bartlett v. Societe Generale de Banque Au

Liban SAL, 2020 WL 7089448, at *12 (E.D.N.Y. Nov. 25, 2020) (providing access to financial

markets and accounts). Unlike traditional banking, Binance’s business hinged on the anonymous

and pseudonymous portions of the crypto ledger, tailormade for terrorism finance. ¶¶143-44, 227.

       2. The Nexus Between Defendants’ Assistance And The Attacks

       While Twitter requires a “nexus” between the Defendants’ assistance and the terrorist act

(598 U.S. at 503), it also recognizes that a defendant “can be held liable for other torts that were

a foreseeable risk of the intended tort.” Id. at 496. A “close nexus” is not required and “even more

remote support can still constitute aiding and abetting.” Id.

       The FAC alleges this, as Defendants were systemic financial enablers of Hamas and PIJ.

For years, Defendants provided these terrorists with the ability to transact millions of dollars in

crypto and access global markets, even after they had been identified. Moreover, Zhao admitted

the connection between Defendants’ assistance and a future terror attack. ¶221; see King v. Habib

Bank Ltd., 2023 WL 8355359, at *3 (S.D.N.Y. Dec. 1, 2023) (provision of banking services to

terrorists and their allies satisfied nexus because attack was foreseeable consequence of services);

Bonacasa v. Standard Chartered PLC, 2023 WL 7110774, at *11 (S.D.N.Y. Oct. 27, 2023) (same).

       Defendants maintain that the FAC must show that Defendants’ financial services were used

for the Attacks. Mot. 17. But Twitter rejects this contention. See 598 U.S. at 497 (“strict nexus”

not required; “remote support can still constitute aiding and abetting”); see also Bonacasa, 2023

WL 7110774, at *9 (nexus “even where the defendant did not intentionally aid the specific terrorist

attack itself.”). And for good reason: financial support to an organization like Hamas “if not used

directly, arguably would be used indirectly by substituting it for money in Hamas’ treasury; money




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transferred by Hamas’ political wing in place of the donation could be used to buy bullets.” Gill v.

Arab Bank, PLC, 893 F. Supp. 2d 474, 507 (E.D.N.Y. 2012).

       3. The Halberstam Factors Confirm Defendants’ Substantial Assistance

       The six factors in Halberstam v. Welch, 705 F.2d 472 (D.C. Cir. 1983) “capture the essence

of aiding and abetting.” Twitter, 598 U.S. at 504. These factors are “variables,” and the “absence

of some need not be dispositive.” Kaplan, 999 F.3d at 856. The FAC establishes them.

       Nature of the Act: Defendants’ provision of financial services to an FTO is “indisputably

important.” Halberstam, 705 F.2d at 488; see also Zobay v. MTN Grp. Ltd., 695 F. Supp. 3d 301,

349 (E.D.N.Y. 2023) (“[f]inancial support is indisputably important to the operation of a terrorist

organization … any money provided … may aid its unlawful goals.”).

       Amount of Assistance: Contrary to Defendants’ assertion (Mot. 18), Plaintiffs do not need

to trace Defendants’ financial services to the Attacks; tracing “specific dollars to specific attacks

… would be impossible and would make the ATA practically dead letter[.]” Strauss v. Credit

Lyonnais, S.A., 925 F. Supp. 2d 414, 433 (E.D.N.Y. 2013).

       As to the quantum of assistance, the $60 million transacted by Hamas and PIJ and the

approximately $100 million transacted by FTO and FTO-affiliated wallets leading up to the

Attacks (¶¶193-98) is more than sufficient to satisfy this factor. See Bonacasa, 2023 WL 2390718,

at *14 ($25 million in loans was substantial assistance); Bartlett, 2020 WL 7089448, at *15 (same

as to “processing millions of dollars in transfers” for FTO).

       Defendants’ Presence: The tortious enterprise in Halberstam, as here, required activities

in different locations. See 705 F.2d at 488. The Attacks required substantial funding (¶¶124, 132-

38), “which can be expected to occur far earlier and away from the where the Attacks were




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committed.” Bartlett, 2020 WL 7089448, at *13; see also Zobay, 695 F. Supp. 3d at 350 (the

“ongoing business relationship” demonstrated “transactional[]” presence).

       Relationship to Hamas/PIJ: A “direct relationship between the defendant and the FTO is

not required[.]” Honickman v. BLOM Bank SAL, 6 F.4th 487, 501 (2d Cir. 2021). A “commercial

relationship,” even if “indirect” to an FTO, is sufficient so long as the assistance provided is

substantial. Averbach v. Cairo Amman Bank, 2022 WL 2530797, at *16 (S.D.N.Y. Apr. 11, 2022).

The FAC exceeds this by alleging that Hamas and PIJ were Defendants’ customers (¶¶212-16) and

that Binance conducted approximately $60 million in direct transactions with Hamas and PIJ

cryptocurrency wallets. ¶¶3, 194, 209, 226-27.

       State of Mind: This factor concerns a “long-term intention to participate in an ongoing

illicit enterprise.” Halberstam, 705 F.2d at 488. Defendants’ actual knowledge that Hamas and

PIJ operated on the Binance platform for years (see supra Section I.A.1) and their general

awareness of their role in Hamas and PIJ’s terrorism financing (see infra Section I.B) are sufficient.

See Bartlett, 2020 WL 7089448, at *14 (allegations establishing general awareness satisfied state

of mind); Averbach, 2022 WL 2530797, at *16 (state of mind satisfied because bank-defendant

was aware it was “enabling fundraising for Hamas's terror activities”).

       Duration of Assistance: This factor assesses “the length of time an alleged aider-abettor

has been involved with a tortfeasor” and the “quality and extent of their relationship[.]”

Halberstam, 705 F.2d at 484. Defendants maintained relationships with the FTOs and their

affiliates for years leading up to the Attacks; this is sufficient. ¶¶193-98, 209-13; see Bonacasa,

2023 WL 2390718, at *14 (providing services for a “significant period” of time up to attack);

Averbach, 2022 WL 2530797, at *17 (multi-year relationship with FTO-affiliates).




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       B. The FAC Alleges Defendants’ General Awareness

       General awareness is not “full recognition”; it connotes “something less than full, or fully

focused, recognition.” Kaplan, 999 F.3d at 863. Because a plaintiff “cannot be expected to plead

a defendant’s actual state of mind,” a complaint may “contain general allegations as to a

defendant’s knowledge[.]” Id. at 864. At this stage, a plaintiff does not need to allege a defendant

“knew or should have known” facts concerning public sources of information, just that the

information was made public. Honickman, 6 F.4th at 501. When a defendant assists an FTO,

general awareness is established if the defendant was generally aware of its role in “an overall

illegal activity” from which an “act of international terrorism was a foreseeable risk.” Kaplan, 999

F.3d at 860. When a defendant provides assistance to an FTO’s intermediaries, general awareness

is established if those intermediaries “were so closely intertwined with [the FTO’s] violent terrorist

activities that one can reasonably infer that [the defendant] was generally aware … that it was

playing a role in unlawful activities from which the [terrorist attack was] foreseeable.” Id. at 861.

       The FAC meets both standards. Defendants provided financial services directly to Hamas

and PIJ. ¶¶172, 194, 211-12, 216-18. Where Defendants serviced intermediaries, such as BuyCash

and Dubai Co., the FAC identifies the public notice establishing these entities’ connections to

Hamas. ¶¶195-97, 209, 218, 226. This is more than sufficient. See Averbach, 2022 WL 2530797,

at *12 (Israel’s designating bank’s customers as Hamas fronts were “red flags” that customers

“were closely intertwined with Hamas” contributing to a “plausible inference” that defendant-bank

“was generally aware it was assisting unlawful activities of Hamas”).

       The FAC establishes Defendants’ general awareness in other ways. First, Defendants knew

they functioned as financial enablers of criminals and terrorists, as demonstrated by the internal

communications among Binance’s “compliance staff.” See supra Section I.A; ¶¶174-92, 210-13.




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       Second, the FAC establishes Defendants’ general awareness by alleging widespread public

knowledge of Hamas’ goals (¶¶76-81), and, between 2019 and 2023, Hamas’ publicized use of

cryptocurrency and donations via Binance. ¶¶201-03. At the pleading stage, plausible inferences

regarding general awareness may be drawn from public statements. See Honickman, 6 F.4th at

501; Averbach, 2022 WL 2530797, at *10 (general awareness based on Hamas’ “public and widely

reported” calls for violence and recruitment of individuals to commit violence); Henkin v. Kuveyt

Turk Katilim Bankasi, A.S., 495 F. Supp. 3d 144, 157 (E.D.N.Y. 2020) (defendant did not have to

know public information for it be imputed).

       Likewise, and further supporting Defendants’ general awareness, media and third parties

covered Hamas’ use of crypto and Binance. See Kaplan, 999 F.3d at 862; Bartlett, 2020 WL

7089448, at *10. In 2019, the Israeli press reported on Hamas’ use of Binance, and a crypto-

analytics firm, via its public Twitter page, flagged Hamas’ use of the platform. ¶205. In June 2021,

The Wall Street Journal reported on Hamas’ extensive cryptocurrency use. ¶206. Binance’s

competitor published a report for crypto-platforms to detect terrorist usage. ¶208.

       Israel, through enforcement actions, publicly announced Hamas, PIJ, and their affiliates’

use of crypto. In June 2021, Israel’s NBCTF publicized BuyCash wallets used to transfer funds to

Hamas. ¶¶196, 209. In March 2022 and April 2023, the NBCTF publicized Dubai Co. wallets.

¶226. Defendants’ general awareness also stems from these designations. See Kaplan, 999 F.3d at

864 (“it would defy common sense” that government designations of terrorist-fronts would not

support general awareness); Henkin, 495 F. Supp. 3d at 160 (“it would defy credulity” that a bank

required to have AML policy would be “oblivious” to designations by Israel).

       Third, the FAC alleges Defendants’ general awareness based on the magnitude of Hamas

and PIJ transactions. See Averbach, 2022 WL 2530797, at *13 (transfers were “red flag[s]”).




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II.      THE FAC STATES PRIMARY LIABILITY CLAIMS

         The ATA provides for liability for “[p]roviding material support to terrorists” and to

“designated foreign terrorist organizations.” 18 U.S.C. §§ 2339A, 2339B.

         A.     The FAC Alleges An Act Of International Terrorism

         The ATA provides for liability where a plaintiff is injured “by reason of an act of

international terrorism.” 18 U.S.C. § 2333(a). “[I]nternational terrorism” are activities that: (i)

“involve violent acts or acts dangerous to human life that are a violation of the criminal laws of

the United States or of any State” and (ii) “appear to be intended” to “intimidate or coerce a civilian

population,” “influence the policy of a government by intimidation or coercion,” or “affect the

conduct of a government by mass destruction, assassination, or kidnapping.” 18 U.S.C. §

2331(1)(A)-(B). A violation of § 2339A for “[p]roviding material support to terrorists” or of §

2339B for providing material support to a “foreign terrorist organization” qualifies as “a violation

of the criminal laws” under § 2331(1)(A) and triggers civil liability under the ATA.

         1. Acts Dangerous To Human Life

         “Giving money to Hamas … is an act dangerous to human life.” Boim v. Holy Land

Foundation for Relief and Development, 549 F.3d 685, 690 (7th Cir. 2008). “Providing financial

services … is also dangerous to human life since financial services increase Hamas’ ability to carry

out attacks in the same way[.]” Miller v. Arab Bank, PLC, 372 F. Supp. 3d 33, 45 (E.D.N.Y. 2019).

         Defendants committed acts dangerous to human life through their provision of unusual and

dangerous crypto-financing services to Hamas and PIJ. See supra Section I.A; Schansman v.

Sberbank of Russia PJSC, 565 F. Supp. 3d 405, 416 (S.D.N.Y. 2021) (facilitation of funding to

FTO affiliates was dangerous to human life); Lelchook v. Islamic Republic of Iran, 393 F. Supp.

3d 261, 266 (E.D.N.Y. 2019) (routing payments on behalf of FTO was dangerous to human life).




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         2. Objective Intent To Intimidate Or Coerce

         Whether a defendant appeared “to have intended its activities to intimidate or coerce is …

a question of what its intent objectively appeared to be.” Weiss v. Nat’l Westminster Bank, PLC.,

993 F.3d 144, 161 (2d Cir. 2021). “To require proof that the [defendant] intended that his

contribution be used for terrorism—to make a benign intent a defense—would as a practical matter

eliminate [ATA] liability except in cases in which the [defendant] was foolish enough to admit his

true intent.” Boim, 549 F.3d at 698–99.

         Defendants’ objective intent is set forth by their knowing, substantial assistance and

general awareness. See supra Sections I.A.1, I.B; Lelchook, 393 F. Supp. 3d at 266 (intent by

routing money to FTO affiliates); Wultz v. Islamic Republic of Iran, 755 F. Supp. 2d 1, 49 (D.D.C.

2010) (intent because bank executed transactions after knowing they were on behalf of PIJ).5

         B.       The FAC Alleges Defendants’ Scienter

         Under § 2339A, a complaint must allege that a defendant knew or intended its services

would “generally facilitate the terrorist activities.” Id. at 46. Under § 2339B, a complaint must

allege defendant’s “knowledge of the organization’s connection to terrorism.” Weiss, 993 F.3d at

164. “Deliberate indifference” – whether a defendant “knows there is a substantial probability that

[an FTO] engages in terrorism but ... does not care” – is sufficient. Id. at 208.

         Defendants’ deliberate indifference is pled by the FAC’s allegations that Defendants knew

that Hamas and PIJ (and their intermediaries) transacted on Binance leading up to the Attacks

(Section I.A.1) and Defendants’ general awareness of their role in Hamas and PIJ’s activities

(Section I.B). See Schansman, 565 F. Supp. 3d at 417 (deliberate indifference established by


5
 Defendants’ cited authorities (Mot. 12-13) are inapplicable. See, e.g., Weiss, 993 F.3d at 162 (stands for the neutral
principle that a plaintiff must plead all of the statutory elements of §§ 2339A and 2339B); Stutts v. De Dietrich Grp.,
2006 WL 1867060, at *2 (E.D.N.Y. June 30, 2006) (no factual allegations regarding knowledge); O’Sullivan v.
Deutsche Bank AG, 2019 WL 1409446, at *7-8 (S.D.N.Y. Mar. 28, 2019) (no basis to connect affiliates to FTOs).


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allegations concerning terrorist group’s public fundraising, media’s publicizing group’s violence,

and government investigations); Goldberg v. UBS AG, 660 F. Supp. 2d 410, 433-34 (E.D.N.Y.

2009) (scienter where public sources identified bank’s customers as Hamas intermediaries).

       Defendants contend that their provision of “routine services” to persons or entities “with

connections to terrorist organizations—as opposed to the organizations themselves” cannot as a

matter of law give rise to claims under §§ 2339A and 2339B. Mot. 13. However, Defendants ignore

the FAC’s allegations which show that Defendants knowingly provided services directly to Hamas

and PIJ—there is nothing routine about that. See supra Sections I.A.1, I.B. Moreover, liability

attaches to a defendant who provides material support to FTOs through those FTOs’

intermediaries. See supra Sections II.A.1-2; Sokolow v. Palestine Liberation Org., 60 F. Supp. 3d

509, 522 (S.D.N.Y. 2014) (“direct connection between providing material support to the [FTO]

and injury to Plaintiffs is not required”; “attenuated connection” suffices).

       C.      The FAC Alleges Causation

       Proximate cause is shown where a defendant’s conduct was a “substantial factor” such that

plaintiff’s injury was “reasonably foreseeable or anticipated[.]” Rothstein v. UBS AG, 708 F.3d 82,

92 (2d Cir. 2013). Plaintiffs’ injuries were the foreseeable consequences of Defendants’ material

support. See supra Sections I.A.1, I.A.3. To support their operations and execute the Attacks,

Hamas and PIJ publicized their use of cryptocurrency and Binance. ¶¶133-34, 201-04. Defendants

knew Hamas and PIJ used cryptocurrency to fund their violent aims (¶¶133-37, 201-31); intended

that the Binance platform profit from criminal usage and accordingly misled its regulators (¶¶174-

92); knew that Hamas and PIJ transacted on Binance (¶¶193-231); and knew that Hamas and PIJ

transacted in staggering amounts leading up to the Attacks. ¶¶194-98, 209. Zhao admitted that

Defendants’ deliberate concealment of terrorist financing could lead to a terrorist attack. ¶221.




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         That this case concerns cryptocurrency underscores the foreseeability of the Attacks, as

cryptocurrency is tailored for terrorists to conceal their financial transactions in support of deadly

goals. ¶¶143-44; see supra Section I.A.1; Schansman, 565 F. Supp. 3d at 418 (proximate cause

where financial service entities were indifferent to servicing terrorist intermediaries); Strauss, 925

F. Supp. 2d at 432 (same); Goldberg, 660 F. Supp. 2d at 430 (“entirely foreseeable” that

transmitting money to FTO intermediary “would lead to violence”).

         Defendants maintain that proximate cause cannot be established unless they directly

supported the attacks that caused Plaintiffs’ injuries. Mot. 14. But Defendants’ assertion fails as a

matter of law. See Miller, 372 F. Supp. 3d at 46 (“but for” cause “cannot be required”; it “would

eviscerate Section 2333(a).”). Plaintiffs are “not required to trace specific dollars to specific

attacks.” Strauss, 925 F. Supp. 2d at 433; see also Goldberg, 660 F. Supp. 2d at 429 (“Congress

did not intend to limit recovery to those plaintiffs who could show that the very dollars sent to a

terrorist[s] were used to purchase the implements of violence that caused harm to the plaintiff.”).6

III.     PLAINTIFFS HAVE STANDING UNDER THE ATA

         The ATA provides a right of action to “[a]ny national of the United States injured in his or

her person … by reason of an act of international terrorism, or his or her estate, survivors, or heirs

[.]” 18. U.S.C. § 2333(a). Courts should “interpret the statute broadly.” Henkin, 495 F. Supp. 3d

at 152. Defendants incorrectly maintain that 18 Plaintiffs lack standing. Mot. 19-20.




6
  Defendants’ cited authorities (Mot. 14) are inapplicable. In In re Terrorist Attacks on Sept. 11, 2001, the allegations
that defendants provided financial services to an FTO’s intermediaries were conclusory and implausible, as opposed
to the FAC’s. See 714 F.3d 118, 124 (2d Cir. 2013); see also Kaplan v. Lebanese Canadian Bank, SAL, 405 F. Supp.
3d 525, 534 (S.D.N.Y. 2019) (inapposite on primary liability claims because those plaintiffs did not allege how the
bank-defendant’s customers were affiliated with an FTO); Zapata v. HSBC Holdings PLC, 414 F. Supp. 3d 342, 358
(E.D.N.Y. 2019) (supports Plaintiffs’ position by recognizing that providing financial services to designated terrorist
organizations “such as Hamas or front groups for such organizations … definitionally enables them to commit
additional acts of terrorism”).


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       The U.S. Citizens Have Standing: Uri Raanan and H.B. have standing; they are U.S.

citizens. ¶¶21, 59; Raanan Decl. ¶¶3-6; see Lelchook v. Commerzbank AG, 2011 WL 4087448, at

*2 (S.D.N.Y. Aug. 2, 2011) (living U.S. plaintiffs could pursue claims); see also Appendix A.

       The U.S. Decedents’ Close Family Members Have Standing: Eran Shani, Susan Troen,

Hadassah Troen, Revital Mathias, Amos Semama, and Jeffrey Ludmir have standing because they

are the functional equivalent of immediate family of the U.S. citizens murdered in the Attacks.

¶¶22, 31, 32, 35, 40, 42, 53-54; Ludmir Decl. ¶¶2-12; see Brown v. Nat’l Bank of Pakistan, 2022

WL 1155905, at *1 (S.D.N.Y. Apr. 19, 2022) (“familial relationship, such as that of a child, parent,

spouse, or sibling” of U.S. citizen killed in terror attack have standing); In re Terrorist Attacks on

Sept. 11, 2001, 2023 WL 2711126, at *5 (S.D.N.Y. Mar. 30, 2023) (damages for functional

equivalent of family members); see also Appendix A.

       The U.S. Decedents’ Foreign Family Members Have Standing: Oren Glisko, Liat

Glisko, Y.G., Ori Glisko, Sanda Mathias, Yeshayahu Mathias, Tzafrir Mathias, Revital Mathias,

Meira Semama, Amos Semama, Dorian Bosi, and Yosef Ben Aderet have standing because they

are the surviving family members of U.S. citizens murdered in the Attacks. ¶¶22, 37-47. See

Henkin, 495 F. Supp. 3d at 153 (the ATA “contains no requirement” that the survivors or heirs of

a U.S national killed in a terrorist attack must be U.S. citizens; their nationality “makes no

difference”); see also Appendix A.

IV.    THE COURT HAS PERSONAL JURISDICTION OVER DEFENDANTS

       The Court has personal jurisdiction over Defendants pursuant to New York’s long-arm

statute or, alternatively, pursuant to FRCP 4(k)(2).

       A. The Court Has Personal Jurisdiction Pursuant To CPLR 302(a)

       CPLR 302(a) authorizes courts to exercise personal jurisdiction “over any non-domiciliary

... who in person or through an agent ... transacts any business within the state,” so long as the


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cause of action “aris[es] from” that transaction. CPLR 302(a)(1). This is a “low threshold.” Corley

v. Vance, 365 F. Supp. 3d 407, 434 (S.D.N.Y. 2019). A “single act within New York” is sufficient.

Licci v. Lebanese Canadian Bank, SAL, 673 F.3d 50, 62 (2d Cir. 2012).

       Defendants, by soliciting and servicing customers in New York, including “VIP” trading

firms operating in New York, transacted business in New York. ¶¶11, 15, 68-70, 154, 157.

Binance’s extensive New York activities should be attributed to Zhao because, as Binance’s CEO,

he supervised and controlled these activities. ¶¶15, 17, 69, 74-75, 174-81, 191, 217, 220-21. See

Chloe v. Queen Bee of Beverly Hills, LLC, 616 F.3d 158, 164 (2d Cir. 2010) (CPLR 302(a) gives

jurisdiction over “individual corporate officers who supervise and control an infringing activity.”).

       Defendants maintain that Plaintiffs’ claims do not arise from Defendants’ New York

activities because the FAC does not allege that a New York customer funded the Attacks or that

Binance operated from New York. Mot. 21. CPLR 302(a) requires no such allegations.

       A claim “arises from” a particular transaction “where there is some articulable nexus

between the business transacted and the cause of action sued upon.” Sole Resort, S.A. de C.V. v.

Allure Resorts Mgmt., LLC, 450 F.3d 100, 103 (2d Cir. 2006). This nexus is established by “a

relatedness between the transaction and the legal claim such that the latter is not completely

unmoored from the former[.]” Licci v. Lebanese Canadian Bank, 20 N.Y.3d 327, 339 (2012).

       The FAC establishes this. The gravamen of Plaintiffs’ claims is that Defendants knowingly

provided financial services to Hamas and PIJ such that these terrorists transacted millions of

dollars leading up to the Attacks, with the Attacks being the reasonably foreseeable consequence

of Defendants’ services. ¶¶139-246. Defendants’ provision of these services was dependent on

their business in New York; to become a viable platform and thereby allow Defendants to service

Hamas and PIJ, Defendants deliberately sought out and “prioritized” business relationships with




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New York-based “VIP” “market maker” customers, whose high-volume trading provided

necessary liquidity for the Binance platform to exist. ¶¶11-13, 17, 68-69, 158. Retaining these

users was so existential for Defendants that they engaged in a multi-year scheme to deceive

regulators about their New York relationships. ¶¶174-81. Defendants relied on similar deceptive

practices to hide their New York-based customers as they did to hide their FTO users. ¶¶180-81;

see In re Tether & Bitfinex Crypto Asset Litig., 576 F. Supp. 3d 55, 88 (S.D.N.Y. 2021)

(“substantial relationship” between defendant’s opening New York bank accounts containing U.S.

dollar reserves and crypto manipulation claim because existence of reserves “was a critical

component of the illicit scheme,” and scheme could not have operated with unbacked USDT).

       B. The Court Has Personal Jurisdiction Pursuant To FRCP 4(k)(2)

        Under FRCP 4(k)(2), a district court may assert jurisdiction over a defendant if (i) the

defendant has been served with a summons or waived service; (ii) the defendant is not subject to

jurisdiction in any state’s courts; and (iii) asserting jurisdiction is consistent with the U.S.

Constitution. FRCP 4(k)(2).

       All requirements are met for the Court to exercise jurisdiction pursuant to Rule 4(k)(2).

Defendants waived service pursuant to a stipulation entered by the Court in March 2024. (ECF 12;

“Stipulation”). If New York’s long-arm statute does not confer jurisdiction (and it should),

Defendants are not subject to jurisdiction within any state. ¶¶65, 142. Defendants do not contend

that jurisdiction over them violates due process, waiving this argument.

       Defendants maintain that 4(k)(2) does not apply because they never waived service. Mot.

21. But Defendants’ assertion should be rejected because it contravenes the explicit language of

the parties’ Stipulation. Defendants expressly waived “any defense based upon the sufficiency of




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service of process …” ECF 12 at 2. That Plaintiffs purportedly cannot assert 4(k)(2) jurisdiction

because of a supposed defect in waiver of service is precisely such a waived defense.

           Additionally, Defendants’ assertion should be rejected because it runs afoul of guiding

caselaw on this exact issue. See In re ZF-TRW Airbag Control Units Prod. Liab. Litig., 601 F.

Supp. 3d 625, 698 (C.D. Cal. 2022) (defect in waiver of service did “not foreclose Plaintiffs’

argument that there is personal jurisdiction over the foreign Defendants under Rule 4(k)(2)”

because the parties’ stipulation waiving service and preserving jurisdiction defenses “simply

places Defendants in the same position as if service had been effected properly”).

           Defendants also maintain that the Court cannot exercise 4(k)(2) jurisdiction because the

FAC alleges jurisdiction in New York. Mot. 22. But where a plaintiff asserts 4(k)(2) jurisdiction,

it is improper to “foreclose[] an argument … that the defendant is subject to jurisdiction in the

state in which the court resides.” Touchcom, Inc. v. Bereskin & Parr, 574 F.3d 1403, 1415 (Fed.

Cir. 2009). Precluding this would “not allow plaintiffs to plead jurisdiction in the alternative” and

would “conflict[] [with Rule 8 of] the Federal Rules of Civil Procedure.” Id.; see Fed. R. Civ. P.

8(d)(2) (“A party may set out 2 or more statements of a claim … alternatively or hypothetically”).

Plaintiffs’ assertion of Rule 4(k)(2) an alternative basis for jurisdiction is appropriate. See

RegenLab USA LLC v. Estar Techs. Ltd., 335 F. Supp. 3d 526, 555 (S.D.N.Y. 2018) (recognizing

argument under 4(k)(2) as alternative jurisdictional basis).7

                                                    CONCLUSION

           For all the reasons set forth herein, Defendants’ Motion should be denied.8




7
 On a 12(b)(2) motion, a plaintiff must merely “make a prima facie showing that jurisdiction exists.” Licci ex rel.
Licci v. Lebanese Canadian Bank, SAL, 732 F.3d 161, 167 (2d Cir. 2013). Should the Court not so find, the parties’
dispute over material jurisdictional facts lays a basis for jurisdictional discovery. Plaintiffs intend to file such a motion.
8
    If the Court grants any part of the Motion, Plaintiffs will seek leave to re-plead pursuant to FRCP Rule 15(a)(2).


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Dated: July 12, 2024                          Respectfully submitted,


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                            CERTIFICATION OF COMPLIANCE

       Pursuant to Paragraph II-D of the Individual Practices of Judge John G. Koeltl, Plaintiffs

have complied with all of the formatting rules contained therein. The total number of words

contained herein, exclusive of the cover page, certificate of compliance, table of contents, and table

of authorities, is 6997 words.

Dated: July 12, 2024



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